
McCALEB, Justice.
Appellant was convicted for the theft of eight tires and wheels valued at $300.00 and sentenced to serve four years at hard labor in the state penitentiary. Prior to, during trial, and following his conviction and sentence, appellant was represented by counsel who moved for an appeal in the case. The appeal was granted and the record timely filed in this Court but, on the day fixed for the hearing here, neither appellant nor his attorney appeared, and the case was submitted by the state on its brief.
*827There are no perfected bills of exceptions contained in the transcript and, therefore, under Article 920 of the Code of Criminal Procedure, our review is restricted to errors patent on the face of the record, which consists of the caption in the case, a statement of time and place of holding the court, the indictment or information with the endorsement, the arraignment, the plea of the .accused, mention of the impaneling of the jury, verdict, and judgment of the court. See State v. Sanford, 248 La. 630, 181 So.2d 50. An inspection of the pleadings and the proceedings reveals no error therein.
Accordingly, the conviction and sentence are affirmed.
